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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,                    )
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.,                    )
THE TRUST FUND FOR APPRENTICE AND                           )
JOURNEYMAN EDUCATION AND TRAINING,                          )
LOCAL 130, U.A., PLUMBERS’ RETIREMENT                       )
SAVINGS PLAN FUND, LOCAL 130, U.A., and                     )
CHICAGO JOURNEYMEN PLUMBERS’ LOCAL                          )
UNION 130, U.A., GROUP LEGAL SERVICES PLAN                  )
FUND,                                                       )
                                                            )       Case No.: 19 CV 6670
                                                            )
                               Plaintiffs,                  )       Honorable Judge Pacold
                                                            )
       v.                                                   )       Magistrate Judge Cummings
                                                            )
STARR PLUMBING, INC,                                        )
                                                            )
                               Defendant.                   )

                     MOTION FOR ORDER OF DEFAULT AND AUDIT

       Plaintiffs, by and through one of their attorneys, Michael J. McGuire and Gregorio ♦

Marco, P.C., pursuant to Fed. R. Civ. P. 55, respectfully request that this Honorable Court enter

an Order of Default as to liability in favor of Plaintiffs and against Defendant, STARR

PLUMBING, INC., and compel the production of books and records for a fringe benefit audit. In

support of this motion, Plaintiffs state as follows:

       1.      Plaintiffs filed this action on October 8, 2019. Defendant, Starr Plumbing, Inc. was

               served through the Illinois Secretary of State on November 27, 2019. A true and

               correct copy of the Affidavit of Compliance of Service is attached as Exhibit 1.

       2.      Defendant has failed to Answer or otherwise plead within the time frame allowed

               under Fed. R. Civ. P. 15.
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      3.      At all relevant times the Defendant was bound to the terms of the Collective

              Bargaining Agreement (“CBA”) and Trust Agreements between it and the Chicago

              Journeymen Plumbers’ Local Union 130, U.A. through the executed Memorandum

              of Agreement. A true and correct copy of the Memorandum of Agreement is

              attached as Exhibit 2

      4.      Per the terms of the Trust Agreements and CBA Defendant is to periodically

              provide all relevant books and records to auditors designated by the Plaintiffs so

              that a fringe benefit compliance audit may be completed to ensure all required

              fringe benefit contributions are paid.

      5.      Despite repeated requests, Defendant failed to remit the necessary books and

              records to the Plaintiffs auditors or schedule a fringe benefit compliance audit for

              the time period of January 1, 2015 through April 1, 2019.

      6.      The Defendant owes the sum of $2,395.00 for necessary and reasonable attorney

              fees and costs, which are collectible under the terms of the Collective Bargaining

              Agreements, Trust Agreements and Federal law (29U.S.C. §1132(g)(2)(b)).

              (Exhibit 3) Affidavit of Michael J. McGuire.

WHEREFORE, Plaintiffs move this Honorable Court to:

      A. Enter an Order of Default against Defendant;

      B. Enter a Partial Judgment for fees against Defendant in the amount of $2,395.00; and

      C. Order Defendant, and any party or assignee in control of the records of Starr Plumbing,

           Inc., to submit Starr Plumbing, Inc.’s records for a fringe benefit compliance audit for

           the period of January 1, 2015 through April 1, 2019.




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                                       Respectfully submitted,

                                       PLUMBERS’ PENSION FUND LOCAL 130,
                                       U.A., et al.


                                       By: /s Michael J. McGuire
                                              One of their Attorneys


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